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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
SUPERCOOLER TECHNOLOGIES, INC.,

                                              Case No.: __23-187________
                            PLAINTIFF,
                     v.

THE COCA-COLA COMPANY,                        JURY TRIAL DEMANDED

                            DEFENDANT.        DECLARATORY RELIEF
                                              REQUESTED



                                     COMPLAINT


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       Plaintiff SuperCooler Technologies, Inc. (“SuperCooler”), by its undersigned counsel, for

its complaint against Defendant The Coca-Cola Company (“Coke”), alleges the following, based

upon personal knowledge as to its own acts and upon information and belief as to all other matters.

SuperCooler’s information and belief with regard to such matters is based on the investigation

conducted by its attorneys, which investigation included a review of confidential and public

materials, communications between SuperCooler and Coke, press releases, media reports, and

other publicly disclosed information about Coke. SuperCooler believes that substantial additional

evidence exists to support the allegations, which shall be uncovered after a reasonable opportunity

for discovery.

                                  NATURE OF THE ACTION

       1.        This is an action for breach of contract (including the breach of an express and

implied covenant to use diligent efforts to exploit and commercialize the technologies and patents

exclusively licensed to Coke), breach of fiduciary duties (including, without limitation, those owed

to SuperCooler from a confidential/trust relationship and as a de facto partnership or joint venture),

trade secret misappropriation, fraud (including fraud in the inducement), promissory estoppel, and

unjust enrichment and declaratory relief.

       2.        Doug Shuntich is an aerospace engineer and SuperCooler’s founder. Mr. Shuntich

was previously employed by a prime contractor for NASA and worked exclusively with NASA’s

Space Shuttle program at the Kennedy Space Center in Cape Canaveral, Florida. Mr. Shuntich

was part of an elite engineering team that ensured the liquid oxygen system used in the Space

Shuttle’s main engines maintained the required precision cold temperatures throughout the

countdown to launch for 32 Space Shuttle launches.
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        3.     After founding SuperCooler, Mr. Shuntich used his expertise in cooling and

precision temperature control to develop and patent groundbreaking technologies that have

significant and lucrative commercial applications for many different industries, including the

beverage industry.

        4.     The first technology, known as Super Chill, cools beverages to a precise

temperature below freezing in a liquid state and then, using a patented device known as a

Nucleator, instantly turns the beverage into a desirable slush while it remains in its sealed

container, a feat that Coke had been attempting to achieve for decades without success until

SuperCooler perfected it.

        5.     The second technology, known as Rapid Chill, cools room-temperature canned or

bottled beverages to precise temperatures near or below freezing in a matter of seconds, thereby

reducing the need for retail stores to rely on energy-consuming glass door coolers. Rapid Chill

has tremendous potential to lower the carbon footprint associated with the energy inefficient

coolers used by soft-drink bottlers and drink distributors.

        6.     SuperCooler did not have the resources to bring its technologies to market on its

own, so it actively sought out commercial partners. After receiving interest from several large

companies (including PepsiCo, Starbucks, and Viking), SuperCooler presented its technologies to

Coke.    Coke was impressed by SuperCooler and quickly recognized the significant value

SuperCooler’s technologies could add to Coke’s global beverage empire and its efforts to reduce

its carbon footprint from the energy required to keep drinks cold for point-of-sale consumption.

        7.     Coke’s Board of Directors and CEO all acknowledged that SuperCooler’s

technologies have the potential to transform the way millions of people around the world consume

beverages. Indeed, Coke’s CEO publicly touted SuperCooler’s technology during an on-camera




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interview on national television. Coke’s CEO referred to Mr. Shuntich when he said that a “NASA

scientist” had helped Coke develop supercooling and rapid chilling technology to take advantage

of the “global phenomenon” of consumers wanting the super-chilled beverages that SuperCooler’s

technologies produce.

       8.      Over the course of approximately four years, Coke developed an ever-deepening

relationship with SuperCooler—as a partner—to bring SuperCooler’s technologies to market.

Coke and SuperCooler memorialized this relationship in a series of agreements, including a Master

Services Agreement, statements of work, and an exclusive license agreement.

       9.      Having secured a contract with one of the world’s largest beverage companies,

SuperCooler was eager to move forward with testing and production. Mr. Shuntich and his

SuperCooler team officially were registered and invited as visitors at Coke’s Atlanta headquarters

campus more than 40 times to demonstrate SuperCooler’s technologies, present ideation sessions,

deliver and test production prototypes, meet with executives, and train Coke personnel on all

aspects of SuperCooler’s technologies.

       10.     From at least 2014, Coke induced SuperCooler to: (a) disclose valuable confidential

and proprietary information, methods, and materials (including its trade secret information);

(b) terminate SuperCooler’s ongoing relationship with Coke’s competitor and other potential

commercial partners; (c) expend SuperCooler’s scarce resources; and (d) rely on Coke’s

representations that the relationship between SuperCooler and Coke would be one of confidence

and trust—in essence, a “partnership.” Coke made representations and acted in a manner that

induced SuperCooler to reasonably believe that Coke owed duties to SuperCooler because they

were “partners” in bringing SuperCooler’s products to market. Indeed, representatives of Coke




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often emphasized that Coke was a “partner” with SuperCooler in numerous communications both

public and private, verbal and written.

       11.     But when the time arrived to actually produce the devices that embodied

SuperCooler’s technologies, Coke engaged in a series of dishonest and deceptive practices. Coke

fraudulently induced SuperCooler to enter into unfavorable license and loan agreements while

misrepresenting to SuperCooler that it eventually would have a large role in producing the Super

Chill, Rapid Chill, and Nucleator. Coke then minimized SuperCooler’s involvement in design and

production, reduced the amount of money payable to SuperCooler, and hobbled SuperCooler’s

ability to attract capital from other sources to develop and produce SuperCooler’s technologies.

These deliberate actions violated Coke’s obligations, explicit and implicit, to use at least

commercially reasonable efforts to develop and exploit SuperCooler’s technologies. These actions

also violated the duties of care and loyalty Coke owed to SuperCooler as a fiduciary and “partner.”

       12.     Based on the reasonable assumption that Coke was a fiduciary, Supercooler

disclosed to Coke specific proprietary and confidential information, including trade secrets such

as: (a) airflow and fluid-flow analysis, (b) supercooling temperatures, (c) details concerning

nucleation devices, and (d) vortex liquid-immersion rapid chilling.

       13.     SuperCooler provided Coke with, among other things, schematics, computational

methods, temperature sensing concepts, and cooling mediums and techniques. SuperCooler also

had extensive discussions with Coke employees, officers, and agents relating to these trade secrets

and provided multiple devices embodying this proprietary and confidential information.

       14.     Coke misappropriated SuperCooler’s trade secrets by using them for its own

benefit, without SuperCooler’s consent or full knowledge, including by incorporating some of

them into its own patent applications, working secretly with third parties to reverse-engineer and




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commercialize them, and by devaluing that technology by unsuccessfully implementing it without

the full assistance and input of SuperCooler.

       15.     Coke also breached its agreements with SuperCooler by acting contrary to its own

Code of Business Conduct.

       16.     As a result of Coke’s actions, SuperCooler has suffered damages in excess of one

hundred million dollars, has been saddled with millions of dollars of debt, and has been unable to

attract outside investment because of the cloud of uncertainty caused by Coke asserting

inventorship and ownership over SuperCooler’s technologies.

                                             PARTIES

       A.      Plaintiff

       17.     Plaintiff SuperCooler is a domestic corporation organized under the laws of Florida

with its principal place of business in Maitland, Florida, which is in the Middle District of Florida.

       B.      Defendant

       18.     Defendant Coke is a Delaware corporation with its principal place of business at

One Coca-Cola Plaza in Atlanta, Georgia. Coke operates extensively within the Middle District

of Florida.

       C.      Related Nonparties

       19.     MetalFrio Solutions S.A., is a corporation (“Sociedade Anônima”) organized under

the laws of the Federative Republic of Brazil.

       20.     Sanmina Corporation is a Delaware Corporation with its principal place of business

in San Jose, California.

                                 JURISDICTION AND VENUE

       21.     The Court has subject matter jurisdiction over SuperCooler’s federal trade secret

claim pursuant to 18 U.S.C. §§ 1836–39 (Defend Trade Secrets Act) and 28 U.S.C. § 1331 (federal


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question jurisdiction).   The Court also has subject matter jurisdiction under 28 U.S.C. § 1332

(diversity jurisdiction) because the parties are citizens of different states and the amount in

controversy exceeds $75,000.

       22.       The Court has supplemental jurisdiction over the state law claims pursuant to 28

U.S.C. § 1367.

       23.       Venue is proper under 28 U.S.C. § 1391(b) because SuperCooler resides in the

Middle District of Florida. In addition, a substantial part of the events giving rise to the claims

alleged in the complaint occurred in the Middle District of Florida, including development of

SuperCooler’s technologies and visits by Coke personnel to SuperCooler’s headquarters in the

Middle District of Florida. Coke also operates extensively within the Middle District of Florida

and made communications to SuperCooler in the Middle District of Florida.

                                  FACTUAL ALLEGATIONS

I.     Coke’s Background

       24.       Coke is a multibillion dollar international beverage company with headquarters in

Atlanta, Georgia. Coke makes its beverages available to consumers worldwide through its network

of independent bottling partners, distributors, wholesalers, and retailers. As of December 2021,

beverages bearing trademarks owned by or licensed to Coke account for 2.1 billion of the

approximately 63 billion servings of all beverages consumed worldwide every day. Coke operates

extensively within the Middle District of Florida. For example, on information and belief,

machines incorporating SuperCooler’s technologies are in operation at Disney and Universal

Studios theme parks in this district in Orlando, Florida.

II.    SuperCooler’s Background

       25.       Mr. Shuntich is an aerospace engineer, entrepreneur, and small business owner.

Before founding SuperCooler, Mr. Shuntich was employed by United Space Alliance, a primary


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contractor for the NASA Space Shuttle program. He worked as a software and launch systems

engineer at NASA’s Kennedy Space Center at Cape Canaveral. Mr. Shuntich was responsible for

keeping the Space Shuttle’s liquid oxygen fuel cooled to a precise temperature before launch. His

expertise is in achieving and maintaining precise cold temperatures.

       26.     Mr. Shuntich founded SuperCooler in 2012. Under his direction, SuperCooler

developed and patented two cutting-edge, breakthrough technologies for cooling beverages for

point-of-sale consumption: Super Chill and Rapid Chill.

       27.     Super Chill encompasses methods and devices for a refrigerated cooler, also known

as a glass-door merchandiser, which chills beverages in bottles and cans to a precise temperature

below freezing and then uses a SuperCooler-patented device known as a Nucleator to transform

the super chilled beverages into a delicious slush in a matter of seconds. Super Chill has extensive

commercial and residential uses.

       28.     The Super Chill technology is covered by one or more patents, including U.S.

Patent No. 10,959,446, which issued from the United States Patent Office on March 30, 2021. See

Supercooled Beverage Crystallization Slush Device with Illumination, U.S. Patent No.

10,959,446. It claims priority to three U.S. Provisional Patent Applications, two filed in February

and August of 2014 and one in February of 2015. This patent claims, among other things, systems

for forming slush inside of closed beverage containers with liquid inside. But like other patents

owned by SuperCooler, it does not disclose certain proprietary and confidential information,

including trade secret information, developed by SuperCooler.

       29.     Rapid Chill is a device that chills room-temperature beverages in bottles and cans

to a precise, consumer-ready temperature in seconds by rapidly rotating the bottle or can in a

patented aqueous cooling liquid that SuperCooler developed. Rapid Chill is a transformative




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technology for beverage companies because it has the potential to reduce or eliminate the need for

energy-consuming beverage refrigerators in retail outlets. More specifically, Rapid Chill has the

potential to reduce significantly—on a global scale—the electricity and carbon footprint currently

required to keep beverages cold until consumers purchase them.

       30.     SuperCooler applied for a patent on its Rapid Chill technology on June 6, 2014,

with a provisional application filed February 18, 2014. SuperCooler received a patent for its Rapid

Chill technology on December 19, 2017. See Rapid Spinning Liquid Immersion Beverage

Supercooler, U.S. Patent No. 9,845,988 (filed June 6, 2014).

       31.     SuperCooler applied for a patent on its Rapid Chill aqueous solution on January 24,

2014. SuperCooler received a patent for its Rapid Chill aqueous solution on April 25, 2017. See

Ice-Accelerator Aqueous Solution, U.S. Patent No. 9,631,856 (filed Jan. 24, 2014). This patent

was issued based upon an earlier provisional patent application. It covers systems and methods

for cooling beverages and desserts using a combination of loose ice and an aqueous ice-melting

compositing with specific salinity. This patent was innovative, in part, because of the nature of

the solution, a critical component of later systems (the specifics of which would be disclosed as

confidential and proprietary information, including trade secrets, to Coke).

       32.     SuperCooler applied for a patent on its Nucleator on June 5, 2015. SuperCooler

received a patent for its Nucleator on December 11, 2018.             See Supercooled Beverage

Crystallization Slush Device With Illumination, U.S. Patent No. 10,149,487 (filed June 5, 2015).

       33.     SuperCooler’s technologies have wide-ranging commercial and residential

applications. In 2014, SuperCooler met with several large companies to discuss commercial

applications of its technologies, including Viking refrigeration, Anheuser-Busch InBev SA/NV,

Starbucks Corp., Nestlé S.A., and Coke’s largest competitor, PepsiCo, Inc. These companies were




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interested in partnering with SuperCooler to bring its technologies to market.

       34.     Unfortunately, the potential of SuperCooler’s technology has not been realized.

Coke’s deceptive and dishonest practices, as described in this complaint, have hindered the

manufacture, production, and commercialization of SuperCooler’s transformative technologies.

III.   SuperCooler’s Relationship with Coke

       A.      SuperCooler Makes its First Contact with Coke.

       35.     SuperCooler’s relationship with Coke began in or around July 2014, when Dan

Cook, a SuperCooler employee, contacted a member of Coke’s innovations group in Palo Alto,

California to see if Coke would be interested in partnering with SuperCooler. Coke personnel,

including personnel in its Atlanta headquarters, agreed to listen to SuperCooler give a WebEx

presentation from Orlando. The WebEx presentation was a success. Coke was impressed with

SuperCooler’s Super Chill and Rapid Chill technologies and SuperCooler’s aqueous solution.

Coke indicated that the next step would be a face-to-face meeting and demonstration at Coke’s

headquarters in Atlanta.

       36.     In August 2014, Coke and SuperCooler entered into a one-way nondisclosure

agreement which Coke demanded prior to SuperCooler entering Coke headquarters. Later that

month, Mr. Shuntich and his team traveled to Atlanta for a demonstration meeting at Coke’s

headquarters. During the 3.5 hour meeting, Coke personnel tested and drank multiple beverages

that had been supercooled and nucleated (or slushed) using SuperCooler’s technology. Coke

expressed that it was convinced of SuperCooler’s capabilities and the significant benefits to Coke.

Coke was so impressed with SuperCooler’s technology and team that it proposed a subsequent

meeting to discuss a contract between SuperCooler and Coke.




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       B.      SuperCooler Makes the First Super Chill Prototypes for Coke, and Trains
               Coke’s Engineers.

       37.     In October 2014, Coke and SuperCooler entered into their first of many agreements

for SuperCooler’s technologies, which included an explicit two-way confidentiality agreement

regarding intellectual property in any form. SuperCooler was not represented by counsel in these

contract negotiations. Pursuant to a statement of work (“SOW”), Coke purchased two Super Chill

cooler prototypes, each capable of supercooling over 130 bottled beverages and each equipped

with a nucleator-slush creating device for internal testing and demonstrating purposes.

SuperCooler built these machines and components at its shops in the greater Orlando area.

SuperCooler delivered the prototypes, known as B-25 C-1 and C-2, to Coke on or around

December 31, 2014.

       38.     From approximately January 12, 2015 to February 6, 2015 Mr. Shuntich and other

SuperCooler personnel traveled regularly to Coke’s Atlanta headquarters at Coke’s request to fine-

tune, test, and demonstrate the Super Chill prototypes. During this time, SuperCooler personnel

(including Mr. Shuntich) worked in Coke’s engineering development center (“Engineering

Center”), which is part of Coke’s headquarters campus to test the machines. The machines worked

as SuperCooler and Coke expected. Mr. Shuntich and his team successfully supercooled hundreds

of Coke beverages and brands, including Coke, Diet Coke, Sprite, Sprite Zero, Honest Tea, Core

Power, Minute Maid and Simply brand juices, Fuze, Powerade, Powerade Zero, Mello Yellow,

and Dasani water.     During this time, Coke personnel made several representations to the

SuperCooler team and led SuperCooler to believe that Coke envisioned SuperCooler as a long-

term partner. For example, Tom Howell (Coke’s principal engineer for cold-drink equipment) told

Mr. Shuntich that he envisioned SuperCooler being the lead experts on airflow patterns, control

software, fan layouts, and nucleation devices. Kirk Dahlberg (a Coke Research and Development



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engineer and a colleague of Mr. Howell) suggested that his superiors might be interested in Coke

becoming a minority owner of SuperCooler.

       39.     While SuperCooler was working on the prototypes within Coke’s Engineering

Center and helping Coke make several internal presentations about SuperCooler’s products

(discussed further below), from January through September of 2015, SuperCooler also intensively

trained Coke’s engineers on how to use its technology, control temperatures for specific beverage

products, and access real-time cooler data. Multiple engineers that SuperCooler trained would be

listed later as “inventors” on Coke’s copycat patents of SuperCooler’s technology.         These

engineers include Kirk Dahlberg, Tom Howell, Clayton Burnett, Alan Hawkins, David Slagley,

Miyoko Sekita, Tom North, Pranav Goldbole, Clarke Monroe, and Ryan Livingston. The Georgia

Institute of Technology (“Georgia Tech”) also was listed as an inventor on Coke’s copycat patents.

       40.     Overall, Coke was pleased with the Super Chill prototypes. Mr. Dahlberg, who

was on-site at the Engineering Center, told Mr. Shuntich that senior Coke executives wanted to

see a demonstration of the Super Chill prototypes. Mr. Dahlberg also asked Mr. Shuntich about

SuperCooler’s other technology: Rapid Chill. Mr. Shuntich offered to bring a Rapid Chill

prototype machine to Atlanta for Coke to inspect. In or around February 2015, SuperCooler

demonstrated the Rapid Chill technology to Coke.

       41.     In or around April 2015, Coke asked that SuperCooler work exclusively with Coke

to develop commercial applications of Rapid Chill and represented to Mr. Shuntich that Coke

would provide SuperCooler with another SOW for over $150,000.              At Coke’s insistence,

SuperCooler cut off its discussions with PepsiCo, which were in the final stages of technical and

financial specifications regarding Rapid-Chill prototypes, in order to work exclusively with Coke.

SuperCooler was not represented by counsel during these negotiations.




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       C.      SuperCooler Provides Confidential Trade Secret Information to Coke in
               Reliance on Promises of a Long-Term Partnership, Exclusive Manufacturing
               Rights, and Royalties.

       42.     In or around May 12, 2015, as Coke and SuperCooler were finalizing their second

SOW, Mr. Dahlberg of Coke sent an email to Mr. Shuntich requesting that SuperCooler send Coke

all of SuperCooler’s confidential, unpublished patent applications. Mr. Dahlberg represented that

Coke’s “legal department” needed to see these applications to make “decisions internally regarding

the joint-development agreements.”

       43.     Mr. Shuntich was hesitant to provide the confidential information to Coke, but Mr.

Dahlberg assured Mr. Shuntich that Coke was interested only in assessing the potential value of

the patents and that Coke intended to further its relationship with SuperCooler by moving forward

with another SOW. Mr. Dahlberg also assured Mr. Shuntich that Coke would not reverse-engineer

SuperCooler’s technology or apply for its own patents with the information provided—promises

that Coke later breached. In reliance on Coke’s representations, SuperCooler sent the patent

applications to Coke in or around May 2015 with the understanding that the confidentiality of the

information in the applications would be covered by the two-way nondisclosure agreement signed

by Coke and SuperCooler as part of the October 2014 SOW, and that the same nondisclosure

arrangement would apply to subsequent SOWs.            Mr. Dahlberg then asked for a copy of

SuperCooler’s patent application for the Nucleator. SuperCooler was not represented by counsel

during the discussions about providing its unpublished patent applications to Coke.

       44.     In or around May 2015, Shell Huang (Coke’s Senior Director of External

Technology Acquisition) represented to Mr. Shuntich that Coke was prepared to discuss an equity

investment in SuperCooler if field testing of the SuperCooler products was successful.

       45.     In or around July 2015, SuperCooler and Coke executed a Master Services

Agreement (“MSA”) that governed all SOWs going forward.             The MSA granted Coke “a


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worldwide, royalty-bearing exclusive or non-exclusive license” to certain SuperCooler

background intellectual property.      SuperCooler was not represented by counsel during the

negotiations of the MSA and relied on Coke to act in good faith consistent with the duties arising

out of the parties’ confidential relationship.

       46.     Article III of the MSA imposed confidentiality obligations and use restrictions on

the parties. According to Article III, the sole purpose of the parties’ disclosure of confidential

information “will be for the parties to use the information to determine whether they will work

together and to actually work together for any fully executed SOWs.” Article III further states,

“[e]ach party receiving Confidential Information will . . . only use the Confidential Information

for the purposes of this Agreement.”

       47.     Article XVIII of the MSA described the standards by which Coke would conduct

itself in its relationship with SuperCooler during the performance of the MSA and any SOW.

Article XVIII incorporates Coke’s then-current Code of Business Conduct into the agreement and

included a link: http://www.thecoca-colacompany.com/ourcompany/business_conduct.html.

       48.     The link to the Code of Business Conduct is no longer active, but, on information

and belief, versions of the Code of Business Conduct that applied during Coke’s relationship with

SuperCooler stated that “[i]ntegrity is fundamental to The Coca-Cola Company,” and the word

“integrity” appears 27 times in the document. Additionally, the Code of Business Conduct requires

Coke personnel to “act with integrity and honesty in all matters.” With respect to suppliers, the

Code of Business Conduct requires Coke personnel to “[a]lways deal fairly with . . . suppliers,

treating them honestly and with respect.” The Code of Business Conduct also prohibits unfair,

deceptive, and misleading practices and requires Coke personnel to respect the nonpublic

information of other companies.




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       49.     In or around July 2015, Mr. Dahlberg demonstrated SuperCooler’s Rapid Chill

prototype to a group of Coke vice presidents after receiving training from Mr. Shuntich. Mr.

Dahlberg told Mr. Shuntich that the demonstration was well-received, and that Coke’s mergers

and acquisitions group probably would be contacting SuperCooler in the next 1-2 months. During

this time, Coke induced SuperCooler to rely on Coke to commercialize SuperCooler’s technologies

by discouraging Mr. Shuntich from seeking other commercial opportunities. Coke personnel

repeatedly told Mr. Shuntich not to commit to any “as seen on TV” company regarding the Super

Chill coolers until he had spoken with Coke’s venture capital arm.

       50.    In a July 16, 2015 email, Mr. Dahlberg told Mr. Shuntich that the Rapid Chill

technology worked perfectly during a Coke demonstration.

       51.    In August 2015, SuperCooler met with Matthew Mitchell (director of Coke’s

venture capital division) to discuss a partnership and minority ownership stake between Coke and

SuperCooler in the amount of approximately $30 million. Mr. Dahlberg and Theron Foley (Coke’s

Director of Cold Drink Equipment R&D) also were present at the meeting. During and after the

meeting, Mr. Dahlberg, Mr. Foley, and other Coke representatives assured the SuperCooler team

that SuperCooler would be the primary manufacturer of the Super Chill coolers, the exclusive

manufacturer of the Nucleators, and, at a minimum, a primary partner in manufacturing Rapid

Chill machines worldwide.

       52.    On August 26, 2015, Mr. Dahlberg again demonstrated the Super Chill and Rapid

Chill technologies to Coke vice presidents and VIPs at Coke’s annual Innovation Day. Mr.

Dahlberg said that the VIPs were beyond excited about SuperCooler’s technologies.

SuperCooler’s technologies were such a hit that Coke’s President of North American Operations

told Mr. Dahlberg that he wanted to take the extraordinary step of presenting the Rapid Chill




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prototype to Coke’s board of directors that fall. In preparation for the board meeting, SuperCooler

accelerated its prototype production, testing, and preparation of presentation materials.

       53.     In the meantime, Coke continued to make representations to SuperCooler about

Coke’s plans to deploy tens of thousands (and possibly many more) of SuperCooler’s products

annually.    Coke executives projected annual placements of at least 50,000 Super Chill

merchandisers (with Nucleators) and potentially larger numbers of Rapid Chill machines. Relying

on Coke’s representations about future manufacturing and production plans, SuperCooler declined

opportunities to work with PepsiCo, Nestlé, and others.

       54.     In October 2015, Mr. Howell and Mr. Dahlberg of Coke demonstrated the Rapid

Chill and Super Chill products to Coke’s board of directors, including Muhtar Kent (CEO and

Chairman of the Board) Howard G. Buffett (son of Warren Buffett) and Sam Nunn (former Senator

from Georgia). SuperCooler’s personnel were not allowed in the demonstration room and were

not allowed to interact in any way with members of the board. The SuperCooler team was kept in

a small adjacent room and told to be available on text message to answer any questions from Mr.

Dahlberg, Mr. Howell, or Ms. Huang as they conducted the demonstration to the board members.

The presentation to the board was a total success. Each board member tried at least one

superchilled beverage and several board members tried more than one.               As part of this

demonstration to Coke’s board of directors, a Coke-created informational placard posted beside

the Rapid Chill machine indicated that Coke estimated 10 million total placements of

SuperCooler’s Rapid Chill devices. Mr. Dahlberg reported that the feedback from the presentation

was overwhelmingly positive, particularly with respect to the potential that superchilled beverages

had for Coke.      After the meeting, Coke reemphasized its partnership relationship with

SuperCooler. Mr. Dahlberg sent Mr. Shuntich an email thanking him for SuperCooler’s “ongoing




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dedication to both projects we are partnering on.” Ms. Huang likewise wrote to Mr. Shuntich that

she was “looking forward to our continued partnership.” (Emphasis added.)

       D.      While SuperCooler Continues Developing its Technology for Coke, Coke
               Begins Parallel Efforts To Reverse-Engineer SuperCooler’s Technology.

       55.     From fall 2015 through summer 2016, SuperCooler continued to fulfill multiple

SOWs for Coke. All the while, Coke personnel continually led SuperCooler to believe that Coke

imminently was planning to invest between $3-6 million in SuperCooler, either in the form of a

direct equity stake or a convertible loan.

       56.     In reality, and in breach of its confidentiality obligations and use limitations, Coke

was working to reverse-engineer SuperCooler’s technology by enlisting third parties. For

example, throughout 2016 and 2017, Coke enlisted multiple teams of undergraduate engineering

students at Georgia Tech to work around SuperCooler’s intellectual property. To help the students

and their faculty advisors reverse-engineer SuperCooler’s products, Coke provided Georgia Tech

with access to SuperCooler’s trade secrets in breach of the MSA.

       57.     Although the MSA gave Coke the limited ability to share SuperCooler’s trade

secrets with any parent companies and majority-owned subsidiaries (defined in the MSA as

“Related Companies”), Georgia Tech is not a parent company or subsidiary of Coke.

       E.      Coke Successfully Tests SuperCooler’s Products in the Field.

       58.     The transformative potential of SuperCooler’s products was evident in field testing

Coke conducted. In summer 2016, Coke deployed SuperCooler’s “Super Chill” refrigeration units

and Nucleators, which Coke renamed “Arctic Coke,” for a six-month field test. The field test took

place across 20 Speedway convenience stores in and around Indianapolis. The results were a

dramatic success. The “Arctic Coke” machines increased Coke’s soft drink product sales by an

average of 15–20% at each location.



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       F.      In Desperate Need of Capital and Trusting Coke’s Promises, SuperCooler
               Agrees to the 2016 Licensing Agreement, Note Purchase Agreement, and
               Exclusive License on Highly Unfavorable Terms.

       59.     In December 2016, Coke and SuperCooler entered into a licensing agreement

whereby SuperCooler agreed to provide specification documents and instructions to a single Coke-

approved original equipment manufacturer (“OEM”) vendor capable of manufacturing the

Nucleator. The agreement provided that the OEM would purchase smart boards and software from

SuperCooler and follow SuperCooler’s installation and testing procedures. In return, Coke agreed

to pay SuperCooler $55 per Nucleator produced by the OEM and the OEM agreed to purchase

smart boards and software from SuperCooler for $55 per board and software bundle. SuperCooler

was not represented by counsel during these negotiations and relied on Coke to act in good faith.

       60.     In February 2017, after years of delay, Coke finally extended SuperCooler a $3

million loan, memorialized in a Note Purchase Agreement. The terms of the loan prohibited

SuperCooler from using the loan proceeds to work with any other company in the nonalcoholic

beverage industry without Coke’s consent. The Note Purchase Agreement required Coke to use

SuperCooler in the production of SuperChill coolers and Nucleators. Schedule A of the February

2017 Note Purchase Agreement states that “upon agreement by the parties, in order to achieve the

milestones, the cooler and Nucleators may be supplied by SCTI or an alternate source with

support by SCTI to apply SCTI IP.” (Emphasis added.) Coke was supposed to disburse the

loan proceeds in installments: SuperCooler would receive $1.5 million up front, and the remaining

$1.5 million would be paid in increments when SuperCooler met certain production milestones

enumerated in the Note.

       61.     Coke made the milestones deliberately difficult to achieve and stymied

SuperCooler’s completion of them. The ultimate effect of the Note was to make SuperCooler

indebted to, and therefore dependent on, working with Coke. Paying off the Note severely


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hampered SuperCooler’s ability to negotiate favorable terms with Coke because SuperCooler

needed some kind of revenue to pay off Coke’s loan. Most of the meager revenue SuperCooler

received from Coke was reinvested in trying to achieve the near-impossible milestones and

building the company infrastructure to support Coke’s repeated assessment of tens of thousands

of Arctic Coke (i.e. Super Chill) machines distributed worldwide.

       62.     Coke used the Note Purchase Agreement and the prospect of a lucrative partnership

in the future as leverage to force SuperCooler to agree to an amendment of the MSA (the “First

MSA Amendment”). The First MSA Amendment explicitly states that Coke’s license to

SuperCooler’s products is exclusive, sublicensable, and worldwide. The First MSA Amendment

also explicitly mentions the possibility that a third party—not SuperCooler—could manufacture

the Super Chill under Coke’s exclusive license. Finally, the First MSA Amendment gave Coke a

three-year right of first refusal to SuperCooler’s intellectual property for the Rapid Chill,

effectively creating a de facto exclusive license on the Rapid Chill.

       63.     SuperCooler was disappointed that it had to make these concessions in the 2016

licensing agreement, the Note Purchase Agreement, and the First MSA Amendment. But Coke

offered assurances that SuperCooler would continue to be an integral partner in the production and

commercialization of SuperCooler’s technologies. SuperCooler needed the capital provided by

the Note Purchase Agreement to continue paying its employees, building its corporate

infrastructure, and developing its technologies. Coke also consistently gave the impression that it

would develop the Rapid Chill cooperatively with SuperCooler at the later date. In fact, the loan

amount in the Note Purchase Agreement was originally supposed to include additional funds for

that purchase. SuperCooler was not represented by counsel when it executed the 2016 licensing




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agreement, the Note Purchase Agreement, the underlying Note, or the First MSA Amendment, and

SuperCooler relied on Coke to act in good faith

        64.     On the day that the Note Purchase Agreement was executed, Chris Vallette (Coke’s

VP of R&D) emailed Mr. Shuntich and wrote, “I’m excited we are now officially partners in

changing how consumers enjoy our beverages.”

        65.     Nancy Quan (Coke’s Chief Technology Officer) signed the Note Purchase

Agreement on Coke’s behalf. When Mr. Shuntich requested a photo with Ms. Quan at the contract

signing, he was warned that any external use of the photos would be a breach of the MSA’s

publicity clause. Upon information and belief, Coke’s resistance to SuperCooler publicizing the

photo was motivated by Coke’s desire to conceal SuperCooler’s principal role in developing the

Super Chill, Rapid Chill, and Nucleator technologies.

        66.     Coke pushed aside SuperCooler in favor of foreign manufacturers and backed out

of promises to apply SuperCooler intellectual property with SuperCooler support. Without

SuperCooler’s support, Coke failed to produce a machine that could replicate the highly successful

results of the Indianapolis field testing.

        G.      Breaking Its Promises, Coke Informs SuperCooler that it Would Be Using
                MetalFrio To Manufacture the Super Chill and Would Relegate
                SuperCooler To Manufacturing Nucleator Smart Boards.

        67.     In or around March 2017, Coke informed Mr. Shuntich that—contrary to Coke’s

earlier representations—the first 1,000 Super Chill units would be manufactured by MetalFrio,

and the first 1,000 Nucleators would be produced by Sanmina. SuperCooler would be relegated

to producing only the smart-board controllers for the Super Chill cooler, despite Coke demanding

that SuperCooler meet production milestones for 1,000 complete Nucleator assemblies. This

reduced production role left SuperCooler on the hook for prepayments for parts, production,

molds, supplies, full-time staff, and certifications for complete assemblies that Coke had no


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intention of ever buying from SuperCooler. Coke explained that this sudden about-face was

because SuperCooler was not an “authorized supplier” in the Coke network, and achieving this

status would take time. To make things worse, Coke had not permitted SuperCooler the rights to

sell to anyone else. Furthermore, Coke only agreed to pay royalties of $55 per Nucleator and

remained silent as to whether it would pay any royalties on the Super Chill cooler. SuperCooler

had expected $55 royalties on each Nucleator and $75 royalties on each Super Chill cooler.

       68.     Nevertheless, Coke expressed willingness to shift all (or a majority of) the

production of Super Chill coolers and Nucleators to SuperCooler after first 1,000 units (which

would be produced by MetalFrio and Sanmina). With this understanding, SuperCooler drew down

the second half of its $3 million loan to ramp up for eventually taking over production of

substantially all coolers and Nucleators, to provide SuperCooler smart boards to Sanmina, and to

supervise MetalFrio’s production of the first 1,000 units by making sure they were built, tested,

and performing to SuperCooler’s specifications and standards.

       69.    Upon information and belief, Coke’s prior representations during the negotiations

of the December 2016 Licensing Agreement and February 2017 Note Purchase Agreement

regarding Coke’s commitment to purchase SuperCooler-produced products were a ruse designed

fraudulently to induce SuperCooler to enter into an exclusive license and to continue providing

Coke access to SuperCooler’s intellectual property, engineering, and manufacturing know-how.

Upon information and belief, during the negotiations leading up to the signing of the February

2017 Note Purchase Agreement, Coke already had decided to rely on MetalFrio and Sanmina to

manufacture the Super Chill coolers and Nucleators. Upon information and belief, Coke provided

SuperCooler’s confidential trade secret information to MetalFrio and Sanmina in violation of

Coke’s confidentiality obligations and restrictions on use in the MSA.




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       70.    Coke’s decision not to buy any Super Chill units or Nucleators from SuperCooler

immediately created a negative impression with SuperCooler’s investors. Just three months before

Coke informed SuperCooler of its decision to rely on MetalFrio for manufacturing, SuperCooler

signed a $3 million term sheet with a foreign investor and received a $300,000 down payment.

This investor backed out of the deal and requested a refund of the down payment after it learned

that Coke had decided not to buy any Super Chill coolers or Nucleators from SuperCooler and that

Coke had demanded a reduction in royalties in exchange for placing a 1-inch by 1-inch

SuperCooler sticker on the MetalFrio/Sanmina-produced units for the United States market.

       71.    In or around May 2017, Mr. Shuntich attempted to raise his concerns regarding the

reduced production and royalties with Chris Vallette (Coke’s VP of Research and Development).

At an in-person meeting, Mr. Shuntich handed Mr. Vallette a letter describing Mr. Shuntich’s

grievances with the way Coke had behaved toward SuperCooler. The letter cited Coke’s decision

not to buy Super Chill coolers or Nucleators from SuperCooler for the 1,000 unit rollout, which

Coke did not communicate to SuperCooler during the October 2016-February 2017 negotiations

for the Note Purchase Agreement. The letter also cited Coke’s refusal to sign any document

confirming that SuperCooler had the right to lease its equipment to non-beverage companies and

refusal to sign any document confirming that SuperCooler could sell units directly to alcoholic

beverage companies. Finally, the letter cited Coke’s demand for a royalty reduction in exchange

for the placement of the 1-inch by 1-inch sticker on the machines built by MetalFrio and Sanmina.

       72.    Mr. Vallette reviewed the letter and said that if Mr. Shuntich emailed him any

written complaints on the subject, Coke’s relationship with SuperCooler would be “done.” Mr.

Vallette assured Mr. Shuntich that he would resolve Mr. Shuntich’s concerns, and that

SuperCooler would oversee all production and testing and be the primary manufacturer of




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machines in the future. Mr. Vallette continued through his words and deeds to lull SuperCooler

into believing that Coke would right the wrongs that SuperCooler experienced at the hands of Coke

and that Coke would continue to develop and deploy SuperCooler’s technologies and give

SuperCooler preeminent exposure as the inventive partner with Coke for the Arctic Coke (i.e.,

Super Chill) program.

       73.     Meanwhile, in November 2017, Coke CEO James Quincey appeared on national

television to demonstrate SuperCooler’s Super Chill technology (which Coke had renamed “Arctic

Coke”). In the CNBC appearance, Mr. Quincey explained how the SuperCooler Rapid Chill

prototype improved on “Arctic Coke” by not requiring an “ice machine.”               Mr. Quincey

acknowledged that a NASA “scientist” (Mr. Shuntich) “helped” Coke develop Arctic Coke and

indicated that there were 1,000 “Arctic Coke” machines in U.S. stores already. Mr. Quincey did

not mention SuperCooler, its partnership with Coke, or Mr. Shuntich by name.

       74.     Despite earlier setbacks in the relationship, the fact that the CEO went on national

television to tout the enormous opportunity that Coke saw in SuperCooler’s technologies led

SuperCooler to believe that its partnership with Coke was going to continue.

       75.     A mere month after Mr. Quincey credited Arctic Coke’s development to a NASA

scientist (Mr. Shuntich), a December 2017 MetalFrio business presentation claimed that

“MetalFrio has led the global development of the Coke Arctic Cooler.” The presentation credited

MetalFrio with being “incredibly proactive in both their technical development, customer service,

program logistics and performance capability to meet [Coke’s] aggressive market timing.”

MetalFrio also claimed credit for delivering “game-changing technology” for Coke and a new way

for Coke’s customers to enjoy its products. MetalFrio’s business presentation does not mention

SuperCooler.




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       76.     MetalFrio’s 2017 business presentation also contains a Coke-branded slide that

copies—often verbatim—the words from an internal “sell sheet” that Jeff Busch (Director,

Equipment Commercialization at Coke), Kim Drucker (Coke North America’s Director of

Platform Innovation), and Mr. Dahlberg (Research and Development Engineer at Coke) provided

to SuperCooler in 2015. The 2015 SuperCooler sell sheet and the 2017 MetalFrio presentation

clearly describe the same products, but they are attributed to different manufacturers:

               2015 SuperCooler Sell Sheet                    2017 MetalFrio Presentation

        “Simply select a drink and press the            “Simply select a drink and press the
        button!”                                        button!”
        “Unique beverage offering providing             “Unique beverage offering providing
        ice/slushy effect to beverages”                 ice/slushy effect to beverages”
        “Superbright LED lighting with motion           “Back lit LED panel allows consumers to
        sensors”                                        watch ice being formed in PET
                                                        containers”; “Internal and external LED
                                                        lighting”
        “Indicator lights to inform consumers           “LED indicator lights to inform consumers
        when product is ready”                          when product is ready”
        “Automatic ‘door open’ alarm after 10           “Automatic ‘door open’ alarm after 10
        seconds”                                        seconds”
        “Customer overnight ‘safe temperature           “Overnight ‘safe temperature mode’ to
        mode’ to prevent freezing of products           prevent freezing of products during low
        during low activity periods”                    activity periods”
        “Coca-Cola Bottle/Can Equipment”                “Coca-Cola Bottle/Can Equipment”
        “Increase customer satisfaction by offering     “Increase customer satisfaction by offering
        the high quality, ice cold Coca-Cola            the high quality, ice cold Coca-Cola
        immediate consumption beverages your            immediate consumption beverages your
        guests expect.”                                 guests expect.”
        “MANUFACTURER: SCTI [i.e.,                      “MANUFACTURER: METALFRIO”
        SuperCooler]”

       77.     The 2017 MetalFrio presentation also states that the Arctic Coke coolers were field

tested from “August – October, 2016 with [a] major [convenience] retailer” and that the test

“[d]rove incremental sales.” On information and belief, the field testing referred to in MetalFrio’s

presentation refers to the Indianapolis field testing of SuperCooler’s machines, not MetalFrio’s.




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        78.        On information and belief, the coolers referred to in the MetalFrio presentation are

SuperCooler’s products, which MetalFrio and Coke misappropriated.

        H.         Shortly After SuperCooler Negotiates a Slight Raise in Royalties, Coke
                   Suddenly Stops Ordering the Super Chill.

        79.        In early 2018, Coke began ordering smart boards for the Super Chill from

SuperCooler. The royalty arrangement between the parties at that time was still limited to

SuperCooler being paid $55 per Nucleator, with no agreed-upon royalties for the Super Chill

cooler. In March 2018, Mr. Shuntich met with Mr. Vallette to discuss the inadequacy of the Super

Chill royalties.

        80.        At the meeting, far from “fixing everything” as he had represented to Mr. Shuntich

in May 2017, Mr. Vallette informed Mr. Shuntich and SuperCooler that Coke “had a room full of

lawyers” who were convinced that the MetalFrio cooler had been carefully engineered to not make

use of SuperCooler’s intellectual property and therefore Coke would not be paying royalties to

SuperCooler on the merchandiser cooler.             Mr. Shuntich reminded Mr. Vallette that the

SuperCooler team had taught Coke everything they knew regarding relevant temperatures, data,

designs, airflow, and ready lights. Mr. Shuntich stated that it was not fair for Coke to lead

SuperCooler to believe that it would be paid royalties or that Coke would purchase coolers directly

from SuperCooler when, in fact, Coke was reverse-engineering SuperCooler’s devices and tip-

toeing around SuperCooler’s intellectual property to avoid paying royalties.              After tense

negotiation, Coke begrudgingly agreed to give SuperCooler another $55 royalty for each Super

Chill cooler sold. This agreement was memorialized in a revised licensing agreement that stated

the additional $55 royalty was “compensation for prior consulting services offered by

SuperCooler.” The revised licensing agreement provided that SuperCooler would “partner with




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[Coca-Cola North America Technical Innovation & Stewardship]” to help manufacture the Super

Chill with MetalFrio.

       81.     Despite the persistent friction caused by Coke’s underhanded and less-than-

forthcoming negotiations regarding royalties, licensing, and future production, Coke was still

holding itself out to the public as SuperCooler’s partner. A February 12, 2018 news article

reported, “[t]he company [i.e., Coke] said Coca-Cola R&D had been working on the Arctic Coke

project for decades before partnering with SuperCooler Technologies Inc. in 2015.”

       82.     As 2018 progressed, SuperCooler shipped several thousand smart boards to Coke,

and Coke instructed SuperCooler to prepare to ship 6,000 more. However, in June 2018, MetalFrio

abruptly told SuperCooler that Coke was cancelling all orders. Coke’s sudden stop caused

SuperCooler to issue a temporary suspension of pay to its employees. The explanation given to

SuperCooler at the time was that there was a “nationwide bottler restructuring” that resulted in

dramatically reduced purchases of cooling equipment by North American bottlers.             Upon

information and belief, the sudden termination was due to MetalFrio’s inability to accurately

replicate SuperCooler’s technology, due, at least in part, to Coke’s and MetalFrio’s failure to

involve SuperCooler in the production, testing, and validation processes in violation of the

December 2016 licensing agreement and February 2017 Note Purchase Agreement. These

agreements required Coke and MetalFrio to follow SuperCooler’s installation and testing

procedures and to rely upon SuperCooler’s support to apply SuperCooler’s intellectual property.

SuperCooler offered to fix the issues in exchange for a capital infusion and forgiveness of the $3

million loan, but Coke ignored its request.




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       I.       SuperCooler Discovers Coke’s Copycat Patents of Technology that Coke
                Obtained from SuperCooler.

       83.      In late 2019, SuperCooler learned for the first time that Coke secretly had filed

several patent applications beginning as early as November 2016, including at least

PCT/US2017/063748, PCT/US2018/055930, PCT/US2019/050010, U.S. Pat. App. 62/428,519,

and U.S. Pat. App. 62/586,454. 1 In these patent applications, Coke claimed ownership of some of

SuperCooler’s trade secrets and other information that SuperCooler had provided to Coke in

confidence pursuant to non-disclosure agreements. In the patent applications, Coke named as

inventors personnel whose knowledge of the technology came from training that Mr. Shuntich and

other SuperCooler personnel provided to Coke. SuperCooler provided this training to Coke in

confidence pursuant to non-disclosure agreements solely and exclusively for Coke to evaluate the

technical and commercial feasibility of SuperCooler’s technologies. Georgia Tech was also listed

as an inventor. Coke did not list Mr. Shuntich as an inventor on the patent applications.

       84.      Among the many SuperCooler trade secrets included in Coke’s patents and

published applications were:

             a. SuperCooler’s Air Drying System: This system moves a can or bottle that has been

                chilled in SuperCooler’s Rapid Chill liquid immersion system through an air drying

                system to clean the beverage container of any immersion liquid. This concept was

                explained to Coke’s engineers by email and demonstrated to them in person in

                2015. Coke presented aspects of this system as its own in patent applications (See

                System and Method for Rapid Cooling of Packaged Food Products, U.S. Patent


1
       See also W02020204909A1 (Waterless ice crystal nucleator with convex ultrasonic transmitter)
       (Application filed by The Coca-Cola Company on April 2, 2019); CN113923997A (Anhydrous
       ice crystal nucleator with convex ultrasonic emitter) (Application filed by The Coca-Cola
       Company on April 2, 2019).



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            Application No. US2018/055930 (published on May 23, 2019 as Int’l Patent

            Application No. WO2019/099135)); On-Demand Processing of Chilled Food

            Product, U.S. Patent Application No. US2017/063748 (published on June 6, 2018

            as Int’l Patent Application No. WO2018/102434)). The system is Background IP

            under the terms of the MSA and covered by the MSA’s confidentiality provision.

         b. SuperCooler’s    Integrated   Nucleation    System:      This   system    integrates

            SuperCooler’s Rapid Chill cooling system with a nucleation device capable of

            achieving rapid phase or state change from fluid state to frozen state at the end of

            the chilling process in a manner that would be visible. The integrated nucleation

            system was discussed with Coke engineers in 2015. Coke presented aspects of this

            system as its own in patent applications (See System and Method for Rapid Cooling

            of Packaged Food Products, U.S. Patent Application No. US2018/055930

            (published on May 23, 2019 as Int’l Patent Application No. WO2019/099135); On-

            Demand Processing of Chilled Food Product, U.S. Patent Application No.

            US2017/063748 (published on June 6, 2018 as Int’l Patent Application No.

            WO2018/102434)). The system is Background IP under the MSA, covered by the

            MSA’s confidentiality provision.

         c. Supercooling Temperatures and Metastable States: This trade secret information

            was the product of SuperCooler’s research regarding temperatures to be used for

            supercooling for different beverage types (e.g., sparkling (sugared soda, diet soda,

            zero soda) and still (milk shakes, smoothies, juices, Power Ade, tea, Vitamin Water,

            Zero Still)). SuperCooler provided this information to Coke as an attachment to a

            “Beverage Supercooling Temperatures Guide” on February 6, 2015.               Coke




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            presented some of this information as its own and published it in patent applications

            (See System and Method for Rapid Cooling of Packaged Food Products, U.S. Patent

            Application No. US2018/055930 (published on May 23, 2019 as Int’l Patent

            Application No. WO2019/099135)). This trade secret information is covered by

            the MSA’s confidentiality provision.

         d. Spin Profiles: This trade secret information consists of the specific setting for

            accelerations, peak rotations per minute (“RPM”), total spin time, and stop time

            between forward and reverse spin for different beverages and beverage containers

            when used with the Rapid Chill. The spin profiles were disclosed to Coke personnel

            during several demos and training sessions from February 2015 to August 2015.

            This trade secret information is covered by the MSA’s confidentiality provision.

            Coke presented some of this information as its own in patent applications (See

            System and Method for Rapid Cooling of Packaged Food Products, U.S. Patent

            Application No. US2018/055930 (published on May 23, 2019 as Int’l Patent

            Application No. WO2019/099135)). This trade secret information is covered by

            the MSA’s confidentiality provision.

         e. Source Code and Algorithms: Both Super Chill and Rapid Chill operated based on

            source code copyrighted by SuperCooler. This code and the algorithms it expresses

            enabled Super Chill and Rapid Chill machines to perform the basic tasks for which

            they were designed. SuperCooler’s source code operated: (i) the Go/No-Go ready

            light on the Super Chill; (ii) the “door open” timing algorithms for resetting the

            Go/No-Go light; (iii) the internal fans in the Super Chill; (iv) the timing of the Super

            Chill’s glass-door heater; (v) algorithms to set spinning speed and spin profile of




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               items placed in the Rapid Chill; and (vi) algorithms to determine total time to reach

               desired cooling temperatures in Rapid Chill. Upon information and belief, some of

               SuperCooler’s copyrighted source code was used in the Arctic Coke coolers

               constructed by MetalFrio and Sanmina.

       85.     In 2019, Coke filed a patent application for nucleator technology that was published

in March 2022, titled Supercooled Beverage Nucleation and Ice Crystal Formation Using a High-

Pressure Gas, U.S. Patent Application No. US2019/050010 (published on March 12, 2020 as Int’l

Patent Application No. WO2020/051491). Coke then received a search request from the European

Patent Office that cited all of Coke’s preexisting patent applications as well as SuperCooler’s

Nucleator patents from 2015. In response, Coke amended its patent application in December 13,

2022 and referenced SuperCooler’s 2015 Nucleator patent.

       86.     The mere existence of Coke’s copycat patents has prevented SuperCooler from

finding another partner to commercialize its inventions to this day. Although SuperCooler’s

technology remains as promising as ever, Coke’s patent applications cast doubt on SuperCooler’s

and Mr. Shuntich’s ownership of the background intellectual property and discourage other

potential partners and investors from working with SuperCooler.

       J.      Coke Believed the Arctic Coke Machines Would Be Successful and Continued
               To Deploy Them in the United States and in Foreign Countries.

       87.     After the successful 2016 field test in and around Indianapolis, Coke expanded its

testing of the Arctic Coke.

       88.     In his November 2017 appearance on CNBC, Mr. Quincey demonstrated the Rapid

Chill and Arctic Coke products and emphasized the “global phenomenon” of consumers wanting

slushy beverages. He said there were already over 1,000 Arctic Coke machines in U.S. stores.




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Regarding Rapid Chill, he said the technology would be a “win-win” because it produced slushy

beverages rapidly while eliminating the need for the store to have an ice machine.

       89.     Coke expanded testing of the Arctic Coke machines to 800 convenience stores in

the United States. In a February 2018 article, Ms. Drucker (Coke North America’s Director of

Platform Innovation) spoke positively about the expanded testing and said that she and her team

were exploring additional channels for Arctic Coke beyond convenience stores.

       90.     Coke’s expansion continued into the next year. In a June 2018 tweet, Coke

announced: “Good news! Not only will there be [Arctic Coke] locations in Indianapolis but also

in many other cities. If you [direct message] us with some cities/state you are in or will be

traveling to, we can let you know where the Arctic Coke Machines will be!” (emphasis added).

       91.     In a Q3 2019 Investor Overview presentation, Coke described the growth potential

of the Arctic Cooler as “exponential,” ranking higher than even Coke’s “transformational”

freestyle machines.




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       92.     On information and belief, Coke has deployed and continues to deploy

SuperCooler’s Super Chill and Nucleator technologies in the United States and around the world,

as evidenced by videos uploaded to the internet by various people enjoying supercooled nucleated

beverages as recently as March 2022. 2 As recently as June 24, 2022, a trade publication for

convenience retailers published an article describing Arctic Coke machines at 7-Eleven stores in

Singapore. The article provides, “With the Arctic Coke machine, customers choose a bottle of

Coca-Cola, put it into the machine and press a button, and the machine creates a Coke slushie.”

       93.     On information and belief, Coke took steps to conceal its breaches and fraudulent

actions by lulling SuperCooler into believing that Coke was otherwise complying with its

contractual obligations and duties as a partner. Because of Coke’s deliberate concealment and

continued assertions that no misappropriations have occurred (which persist to this day),

SuperCooler’s discovery of Coke’s misappropriations was delayed, and SuperCooler could not

have discovered the misappropriation earlier with the exercise of due diligence.

       94.     On information and belief, Coke’s misappropriation of SuperCooler’s trade secret

information continue to the present day, and Coke has continued to breach its contractual

obligations, all within the relevant limitations periods.

                                        COUNT I
                                   BREACH OF CONTRACT

       95.     SuperCooler repeats, incorporates, and realleges each and every allegation set forth

at Paragraphs 1 through 94 as if fully set forth herein.




2
       See, e.g., https://www.youtube.com/watch?v=30SYaRuBkHE (Aug. 23, 2018 video);
       https://www.youtube.com/watch?v=iQTv401r__o (January 8, 2022 video);
       https://www.youtube.com/watch?v=vEXRdYPyQNc (March 20, 2022 video)



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       96.     SuperCooler and Coke entered into valid agreements, including the July 2015

Master Services Agreement (“July 2015 MSA”) and the April 2018 N-1 D-3 Nucleator License

Agreement.

       Breach of the July 2015 MSA

       97.     Article XV of the MSA states that the agreement is governed by New York law.

       98.     Article III of the MSA permitted Coke to disclose and use SuperCooler’s

confidential information only “for the purposes of this Agreement.” In reliance on this use

restriction, SuperCooler disclosed valuable confidential information and trade secrets to Coke

related to Rapid Chill, Super Chill, and the Nucleators.

       99.     Article XV of the MSA provides that, notwithstanding anything contrary in the

agreement, the parties always may apply to a court of competent jurisdiction for “legal or equitable

relief in regards to a violation of the confidentiality, intellectual property license, or limited use

provisions” of the MSA.

       100.    Coke materially breached Article III of the July 2015 MSA by including some of

SuperCooler’s trade secret information in its own patent applications, which it filed without

SuperCooler’s knowledge or permission. Coke also breached the July 2015 MSA by disclosing

SuperCooler’s trade secret information to third parties to exploit SuperCooler’s technology in a

manner beyond the permitted scope of use in the MSA.

       101.    Article XVIII of the July 2015 MSA required Coke to comply with the standards

set out in its Code of Business Conduct. Under the Code of Business Conduct, Coke was required,

among other things, to “act with integrity and honesty in all matters” and to “[a]lways deal fairly

with . . . suppliers, treating them honestly and with respect.”




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        102.    Coke materially breached Article XVIII by fraudulently inducing SuperCooler to

enter into a contractual relationship with Coke, misappropriating SuperCooler’s trade secret

information, and disseminating it to third parties. Coke’s apparent ultimate goal was to cut

SuperCooler out of the manufacturing process in favor of parties such as MetalFrio and Sanmina.

        Breach of the April 2018 N-1 D-3 Nucleator License Agreement

        103.    Page 4 of the April 2018 N-1 D-3 Nucleator License Agreement states that Georgia

law applies.

        104.    The April 2018 N-1 D-3 Nucleator License Agreement required Coke to pay a $55

licensing fee for up to 1,000 Nucleators provided by Coke, and a $55 fee for each bundle of smart-

controller boards and their corresponding software provided by Coke.

        105.    Coke materially breached the April 2018 N-1 D-3 Nucleator License Agreement

by accepting the Nucleators and controller board/software bundles without paying the agreed-upon

fees. Coke also breached the Nucleator License Agreement by cutting SuperCooler out of the

manufacturing process, despite the Agreement stating that SuperCooler would partner with [Coca-

Cola North America Technical Innovation & Stewardship]” to help manufacture the Super Chill

with MetalFrio.

        106.    As a direct and proximate result of Coke’s material breaches, SuperCooler has

sustained actual damages in an amount to be proven at trial.

                             COUNT II
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

        107.    SuperCooler incorporates the allegations set forth at Paragraphs 1 through 94 as if

fully set forth herein.




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          108.   SuperCooler and Coke entered into an exclusive license agreement in the First

MSA Amendment for the Super Chill and Nucleator, and a de facto exclusive license in the First

MSA Agreement for the Rapid Chill.

          109.   Coke, by virtue of being the exclusive licensee of SuperCooler’s Nucleator, Super

Chill, and Rapid Chill was obligated and expected to use its best efforts to exploit the subject

matter of the license.

          110.   Coke’s failure to use its best efforts directly and proximately caused SuperCooler’s

losses.

          111.   Coke’s conduct was not consistent with SuperCooler’s reasonable expectations

under the exclusive license agreement.

          112.   As a direct and proximate result of Coke’s failure to use best efforts to exploit the

subject matter of the license, SuperCooler has suffered losses and is entitled to damages in an

amount to be determined at trial.

                                   COUNT III
                 BREACH OF FIDUCIARY DUTIES OWED TO A PARTNER

          113.   SuperCooler incorporates the allegations set forth at Paragraphs 1 through 94 as if

fully set forth herein.

          114.   The circumstances surrounding SuperCooler’s and Coke’s dealings created a

fiduciary relationship. Coke and SuperCooler entered into a confidential relationship, and Coke

led SuperCooler to believe that the parties were engaged in an exclusive partnership in which Coke

would comply with its duty of care and loyalty in its dealings with SuperCooler. Coke’s

misrepresentations induced SuperCooler to enter into an exclusive development arrangement with

Coke and to grant Coke an exclusive license to its technology.




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        115.    To facilitate this arrangement, SuperCooler—a small business—depended on

Coke—a large, multinational corporation—to protect its trade secrets and to offer SuperCooler

crucial assistance in commercializing its technology. SuperCooler placed its trust and confidence

in Coke to safeguard SuperCooler’s interests.

        116.    Coke recognized and accepted its fiduciary duties to SuperCooler by holding itself

out to SuperCooler as a partner and by holding itself out to the public as SuperCooler’s partner.

        117.    Coke had an obligation to carry out its fiduciary duties with respect to SuperCooler

with the care, skill, prudence, and diligence under the circumstances then prevailing that a prudent

person acting in a like capacity and with the experience and familiarity with SuperCooler’s

technologies would use in a similar situation.

        118.    Coke breached its fiduciary duties to SuperCooler by (1) failing, as the exclusive

licensee, to commercialize SuperCooler’s technologies, (2) misappropriating SuperCooler’s trade

secrets, sharing them with third parties, and seeking to have third parties develop SuperCooler’s

Rapid Chill and Super Chill technologies, (3) fraudulently inducing SuperCooler to enter into

contracts, and (4) presenting business opportunities that naturally should have been presented to

SuperCooler, as partner, to third parties instead.

        119.    As a direct and proximate result of Coke’s actions, SuperCooler has sustained

actual damages in an amount to be proven at trial.

                               COUNT IV
        VIOLATION OF DEFEND TRADE SECRETS ACT (18 U.S.C. §§ 1836–39)

        120.    SuperCooler incorporates the allegations set forth at Paragraphs 1 through 94 as if

fully set forth herein.

        121.    SuperCooler’s technical information, designs, and other “knowhow” related to its

Super Chill and Rapid Chill technologies constitute trade secrets under the Defend Trade Secrets



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Act (18 U.S.C. §§ 1836–39). SuperCooler owns and possesses certain trade secret information, as

alleged above. Multiple SuperCooler trade secrets are reflected in Coke’s patent applications, the

physical components of the Arctic Coke glass door cooler, and the programming of the Arctic

Coke glass-door cooler. Examples of these trade secrets include:

           a. various aspects of Coke’s patent applications, including the SuperCooler Air

                Drying System, the Integrated Nucleation System, the SuperCooling Temperatures

                and Metastable States, and the Spin Profiles, which were not included in

                SuperCooler’s public patent applications and patents.

           b. various aspects of the Arctic Coke glass door cooler, including the placement of the

                Nucleator on the left side of the glass door, the Go/No-Go ready light on the glass

                door, and the specifications for temperature settings in the coolers to create

                acceptable slush levels during nucleation with minimal premature freezing.

           c. various aspects of Coke’s programming for the Arctic Coke glass door cooler,

                including the code that operates the Go/No-Go ready light, the code that operates

                the timing algorithms for resetting the Go/No-Go ready light, and the code that

                turns off the internal fans when the cooler door is open.

       122.     None of these trade secrets is disclosed in SuperCooler’s patents or patent

applications.

       123.     SuperCooler has undertaken efforts that are reasonable under the circumstances to

maintain the secrecy of the trade secrets at issue. These efforts include, but are not limited to, the

use of secure computer and networks systems and the use of confidentiality agreements and non-

disclosure agreements to require vendors, partners (including Coke), contractors, and employees

to maintain the secrecy of SuperCooler’s confidential information.




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        124.    SuperCooler’s trade secret information derives independent economic value from

not being generally known to, and not being readily ascertainable through proper means by,

another person who could obtain economic value from the disclosure or use of the information.

The economic value of keeping SuperCooler’s trade secret information confidential is

demonstrated by, among other things:

            a. Coke’s willingness to loan SuperCooler money so that SuperCooler could develop

                the technology for Coke while under an exclusive license agreement and ultimately

                provide Coke with a competitive advantage;

            b. the significantly increased product sales generated by the Arctic Coke machines in

                Coke’s field testing; and

            c. the multibillion-dollar market for commercial refrigeration equipment, which

                would be disrupted by widespread adoption of SuperCooler’s trade secrets.

        125.    Coke knowingly misappropriated SuperCooler’s trade secrets.           Coke either

acquired the trade secrets through the misrepresentations and breaches of confidentiality described

herein or had reason to know that the trade secrets were acquired through those same

misrepresentations and breaches of duty.

        126.    SuperCooler’s trade secret information relates to products and services used in, or

intended for use in, interstate or foreign commerce.

        127.    As a direct and proximate result of Coke’s misappropriation, SuperCooler has

incurred, and will continue to incur, actual damages in an amount to be proven at trial. Also as a

result of the misappropriation, Coke was, and will continue to be, unjustly enriched in an amount

to be proven at trial.




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        128.    The aforementioned acts of Coke were willful and malicious. SuperCooler is

therefore entitled to exemplary damages and attorneys’ fees under 18 U.S.C. § 1836(b)(3)(C).

        129.    As a direct and proximate result of Coke’s misappropriation, SuperCooler will

suffer injuries of a continuing nature for which SuperCooler has no adequate remedy at law.

Unless enjoined by order of this Court, Coke will gain an irreversible competitive advantage by

being the first to commercialize SuperCooler’s trade secret information and reap the profits. These

actions will irreparably diminish the value of the trade secret information to SuperCooler and

prevent SuperCooler from developing its technology with other partners. SuperCooler is entitled

to an order of injunction that: (1) enjoins Coke from misappropriating SuperCooler’s trade secrets,

and (2) directs Coke to return all trade secret information to SuperCooler.

                                   COUNT V
               VIOLATION OF FLORIDA UNIFORM TRADE SECRETS ACT
                         (FLA. STATUTES § 688.001 et seq.)

        130.    SuperCooler incorporates the allegations set forth in Paragraphs 1 through 94 as if

fully set forth herein.

        131.    SuperCooler’s technical information, designs, and other “knowhow” related to its

Super Chill and Rapid Chill technologies constitute trade secrets under Florida’s Uniform Trade

Secrets Act. SuperCooler owns and possesses certain confidential, proprietary, and trade secret

information, as alleged above. Multiple SuperCooler trade secrets are reflected in Coke’s patent

applications, the physical components of the Arctic Coke glass door cooler, and the programming

of the Arctic Coke glass door cooler. Examples of these trade secrets include:

            a. various aspects of Coke’s patent applications, including the SuperCooler Air

                Drying System, the Integrated Nucleation System, the SuperCooling Temperatures




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                and Metastable States, and the Spin Profiles, which were not included in

                SuperCooler’s public patent applications and patents.

           b. various aspects of the Arctic Coke glass-door cooler, including the placement of

                the Nucleator on the left side of the glass door, the Go/No-Go ready light on the

                glass door, and the specifications for temperature settings in the coolers to create

                acceptable slush levels during nucleation with minimal premature freezing.

           c. various aspects of Coke’s programming for the Arctic Coke glass-door cooler,

                including the code that operates the Go/No-Go ready light, the code that operates

                the timing algorithms for resetting the Go/No-Go ready light, and the code that

                turns off the internal fans when the cooler door is open.

       132.     None of these trade secrets is disclosed in SuperCooler’s patents or patent

applications.

       133.     SuperCooler has undertaken efforts that are reasonable under the circumstances to

maintain the secrecy of the trade secrets at issue. These efforts include, but are not limited to, the

use of secure computer and networks systems and the use of confidentiality agreements and non-

disclosure agreements to require vendors, partners (including Coke), contractors, and employees

to maintain the secrecy of SuperCooler’s confidential information.

       134.     SuperCooler’s trade secret information derives independent economic value from

not being generally known to, and not being readily ascertainable through proper means by,

another person who could obtain economic value from the disclosure or use of the information.

The economic value of keeping SuperCooler’s trade secret information confidential is

demonstrated by, among other things:




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            a. Coke’s willingness to loan SuperCooler money so that SuperCooler could develop

                the technology for Coke while under an exclusive license agreement and ultimately

                provide Coke with a competitive advantage;

            b. the significantly increased product sales generated by the Arctic Coke machines in

                Coke’s field testing; and

            c. the multibillion-dollar market for commercial refrigeration equipment, which

                would be disrupted by widespread adoption of SuperCooler’s trade secrets.

        135.    Coke knowingly misappropriated SuperCooler’s trade secrets.           Coke either

acquired the trade secrets through the misrepresentations and breaches of duty to maintain secrecy

described herein or had reason to know that the trade secrets were acquired through those same

misrepresentations and breaches of duty.

        136.    As a direct and proximate result of Coke’s misappropriation, SuperCooler has

incurred, and will continue to incur, actual damages in an amount to be proven at trial. Also as a

result of the misappropriation, Coke was, and will continue to be, unjustly enriched in an amount

to be proven at trial.

        137.    The aforementioned acts of Coke were willful and malicious. SuperCooler is

therefore entitled to exemplary damages under Florida Statute § 688.004(2) and an award of

attorneys’ fees under Florida Statute § 688.005.

        138.    As a direct and proximate result of Coke’s misappropriation, SuperCooler will

suffer injuries of a continuing nature for which SuperCooler has no adequate remedy at law.

Unless enjoined by order of this Court, Coke will gain an irreversible competitive advantage by

being the first to commercialize SuperCooler’s trade secret information and reap the profits. These

actions irreparably diminish the value of the trade secret information to SuperCooler and prevent




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SuperCooler from developing its technology with other partners. Pursuant to Florida Statute

§ 688.003, SuperCooler is entitled to an order of injunction that: (1) enjoins Coke from

misappropriating SuperCooler’s trade secrets, and (2) directs Coke to return all trade secret

information to SuperCooler.

                                         COUNT VI
                                 FRAUD IN THE INDUCEMENT

        139.    SuperCooler incorporates the allegations set forth at Paragraphs 1 through 94 as if

fully set forth herein.

        140.    As set forth more particularly above, Coke made statements that intentionally led

SuperCooler to believe that SuperCooler would be the exclusive manufacturer of Nucleators and

coolers for Coke. Coke instructed SuperCooler to prepare for mass manufacturing and rollout of

SuperCooler’s Nucleators and coolers, represented to SuperCooler in negotiations that

SuperCooler would be the “end-to-end” supplier of Nucleators, and listed SuperCooler as the

manufacturer on internal documents.

        141.    More specifically, Coke induced SuperCooler to enter into at least two agreements.

First, Coke’s actions and representations induced SuperCooler to enter into the July 2015 MSA.

These actions and representations include, among others:

            a. Mr. Howell represented to Mr. Shuntich that SuperCooler would be the lead on

                airflow patterns, control software, and fan layouts for all of Coke’s refrigeration

                manufacturers.

            b. Mr. Dahlberg represented Coke might be interested in becoming a minority owner

                of SuperCooler.

            c. Coke induced SuperCooler to work exclusively with Coke to develop commercial

                applications of Rapid Chill and to cut off its discussions with PepsiCo in order to



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              work exclusively with Coke. Coke induced SuperCooler not to commit to any “as

              seen on TV” company regarding the Super Chill coolers before speaking with

              Coke’s venture capital arm.

           d. Mr. Dahlberg induced Mr. Shuntich to send SuperCooler all of its confidential,

              unpublished patent applications by representing that Coke’s “legal department”

              needed to see them to make “decisions internally” regarding the July 2015 MSA.

              Mr. Dahlberg assured Mr. Shuntich that Coke was interested only in assessing the

              potential value of the patents, and that Coke would not reverse-engineer

              SuperCooler’s technology.

           e. Ms. Huang represented to Mr. Shuntich that Coke was prepared to discuss an equity

              investment in SuperCooler if field testing of the SuperCooler products was

              successful.

       142.   Second, Coke’s representations induced SuperCooler to enter into the 2018 N1-D3

Nucleator Licensing Agreement. In particular, the agreement provided that SuperCooler would

“partner with [Coca-Cola North America Technical Innovation & Stewardship]” to help

manufacture the Super Chill with MetalFrio. In other words, Coke promised SuperCooler that it

would be a partner in producing the Super Chill with MetalFrio. Ultimately, this statement was

not true. Coke cut SuperCooler out of producing the Super Chill and the Nucleator in favor of

MetalFrio and Sanmina.

       143.   At the time Coke made such statements and omitted such information, Coke knew

that its statements were false and that its omissions were misleading. Coke made such statements

and omitted such information with the intent to induce SuperCooler to enter into agreements with




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Coke so that Coke could obtain favorable terms and use third parties to manufacture Nucleators

and other critical components.

       144.    SuperCooler justifiably relied upon Coke’s statements and omissions in deciding

to enter into agreements and in incurring costs of preparing to be the exclusive or primary

manufacturer of Rapid Chill, Super Chill, and the Nucleators. The prospect of being Coke’s sole

or primary supplier was material to SuperCooler’s decision to enter into agreements with Coke.

SuperCooler placed its trust and confidence in Coke as a long-term exclusive partner based on the

parties’ contractual arrangement and other representations made by Coke.

       145.    As the direct and proximate result of Coke’s fraud in the inducement, SuperCooler

has sustained actual damages in an amount to be proven at trial.

                                        COUNT VII
                                    UNJUST ENRICHMENT

       146.    SuperCooler repeats, incorporates, and realleges each and every allegation set forth

at Paragraphs 1 through 94 as if fully set forth herein.

       147.    SuperCooler directly conferred several highly valuable benefits to Coke in the

course of the parties’ partnership, including: (a) valuable trade secret information about the Super

Chill, Rapid Chill, and Nucleator; (b) services in the form of developing fully functioning Super

Chill prototypes and Nucleators, and (c) the fully functioning Super Chill prototypes themselves

which, upon information and belief, continue to operate in the present day.

       148.    SuperCooler’s conferral of these benefits was induced by Coke’s promises that

SuperCooler would be the exclusive manufacturer of Nucleators and coolers for Coke.

       149.    In addition, Coke has profited from the revenue of the Arctic Coke machines

currently in service around the world.




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       150.    Coke voluntarily and knowingly accepted the benefits that SuperCooler conferred

and continues to retain them without adequately compensating SuperCooler.

       151.    The circumstances are such that it would be inequitable for Coke to retain the

benefits conferred by SuperCooler without paying SuperCooler the reasonable market value of

those benefits, which will be proven at trial.

                                        COUNT VIII
                                   PROMISSORY ESTOPPEL

       152.    SuperCooler repeats, incorporates, and realleges each and every allegation set forth

at Paragraphs 1 through 94 as if fully set forth herein.

       153.    Coke clearly and unambiguously promised SuperCooler that SuperCooler would

be the exclusive manufacturer of Nucleators and coolers for Coke. Coke instructed SuperCooler

to prepare for mass manufacturing and rollout of SuperCooler’s Nucleators and coolers,

represented to SuperCooler in negotiations that SuperCooler would be the “end-to-end” supplier

of Nucleators, and listed SuperCooler as the manufacturer on internal documents.

       154.    Coke reasonably should have expected these promises to induce action or

forbearance by SuperCooler.

       155.    SuperCooler did, in fact, take action due to its reliance on Coke’s promises.

SuperCooler expended its limited capital to ramp up for anticipated production of thousands of

coolers and made arrangements with a factory in China. Coke’s promises left SuperCooler on the

hook for prepayments for parts, production, molds, supplies and certifications for complete

assemblies that Coke had no intention of ever buying from SuperCooler.

       156.    Coke’s promises also induced forbearance by SuperCooler.            Due to Coke’s

promises, SuperCooler refrained from seeking out another business partner to help commercialize

its technology because SuperCooler believed it had a reliable partner in Coke.



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         157.   Injustice can be avoided only by enforcement of Coke’s promises because, as a

result of its reliance on Coke’s promises, SuperCooler changed its position to its detriment by

surrendering, forgoing, or rendering a valuable right.

         158.   SuperCooler is entitled to recover the amount necessary to restore it to the position

it would have occupied if Coke’s promises had not been made, and that amount will be proven at

trial.

                                   COUNT IX
                         DECLARATORY RELIEF (28 U.S.C. § 2201)

         159.   SuperCooler repeats, incorporates, and realleges each and every allegation set forth

at Paragraphs 1 through 94 as if fully set forth herein.

         160.   “[A]ny court of the United States, upon the filing of an appropriate pleading, may

declare the rights and other legal relations of any interested party seeking such declaration, whether

or not further relief is or could be sought.” 28 U.S.C. § 2201.

         161.   A real and substantial controversy exists between SuperChill and Coke regarding:

(a) whether SuperCooler was in possession of trade secrets, which it disclosed to Coke in trust and

confidence; (b) whether those trade secrets were background IP under the terms of the MSA; (c)

whether Coke breached the terms of the MSA and its fiduciary duties to SuperCooler by

misappropriating SuperCooler’s trade secrets and attempting to reverse-engineer SuperCooler’s

technology; (d) Coke ultimately claiming SuperCooler’s technology as its own.

         162.   This controversy is definite and concrete and touches on the legal relations of

SuperCooler and Coke—namely, the parties’ contractual and fiduciary relationships and the

ownership of the Super Chill, Rapid Chill, and Nucleator technology.

         163.   The harm caused by Coke’s misappropriation and assertion of ownership over

SuperCooler’s technology is ongoing and will continue into the foreseeable future.



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                                   PRAYER FOR RELIEF

       WHEREFORE, for the reasons set forth herein, SuperCooler respectfully requests the

Court enter judgment in their favor and against Coke as follows:

           a. Award SuperCooler actual damages resulting from Coke’s breach of contract and

              direct specific performance for Coke to discharge its contractual obligations;

           b. Award SuperCooler actual damages and equitable relief (including disgorgement

              and restitution) arising from Coke’s breach of fiduciary duty;

           c. Award SuperCooler actual damages, exemplary damages, and attorneys’ fees

              arising from Coke’s violation of the federal Defend Trade Secrets Act;

           d. Award SuperCooler actual damages, exemplary damages, and attorneys’ fees

              arising from Coke’s violation of the Florida Uniform Trade Secrets Act;

           e. Award SuperCooler actual damages and punitive damages resulting from Coke’s

              fraud in the inducement;

           f. Award SuperCooler the reasonable market value of the benefit from which Coke

              was unjustly enriched;

           g. Award SuperCooler damages based on its detrimental reliance on Coke’s promises;

           h. Enter a declaratory judgment declaring that SuperCooler is the rightful owner and

              inventor of SuperChill, Rapid Chill, and related technologies;

           i. Enter an injunction order that: (1) enjoins Coke from misappropriating

              SuperCooler’s trade secrets, and (2) directs Coke to return all trade secret

              information to SuperCooler;

           j. Award pre- and post-judgment interest to SuperCooler to the maximum extent

              permitted by law; and




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          k. Grant any such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff SuperCooler demands a trial by jury as to all issues so triable.

Dated: February 1, 2023
                                                    /s/ Bradley J. Bondi
                                                    Bradley J. Bondi (lead counsel) (FBN 162396)
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                                                      (Pro hac vice motion forthcoming)
                                                    Michael D. Wheatley
                                                      (Pro hac vice motion forthcoming)
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